869 F.2d 593Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Mitchell BROWN, Plaintiff-Appellant,v.Linwood V. STEPHENSON;  Peggy Jones;  Earl E. Hall,Defendants-Appellees.
    No. 88-6844.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 20, 1989.Decided:  Feb. 9, 1989.Rehearing Denied March 16, 1989.
    
      John Mitchell Brown, appellant pro se.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      John Mitchell Brown appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Stephenson, C/A No. 88-842-CRT (E.D.N.C. Oct. 31, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    